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UNITED STATES DISTRICT COURT
WESTERN DIsTRlCT OF TENNESSEE 05 gm 23 gm H; h3
Western Division ` ' v

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UNITED STATES OF AMERICA ‘i:;'_) .;:` :=i';i*l-i:S
-vs- Case No. 2:05cr20237-Ml

DONNELL CAMPBELL

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a detention hearing is set for
THURSDAY, AUGUST 25, 2005 at 2:45 P.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom M-3, 9"' Floor, United States Courthouse and Federal Building, 167 North
Main, Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United
States Marshal and produced for the hearing.

Date: August 23, 2005 m .

TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

 

lIf not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(1)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present Subseetion (l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer’s own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (8!85) Order of Temporary Delention

Thls document entered on the docket Shee in compliance
with eula as and/or aaib) FRch on ' “O

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CR-20237 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

